                          Case:19-00417-swd              Doc #:6 Filed: 02/05/19           Page 1 of 2
08/12
                                        UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF MICHIGAN

 In re:                                                              Case No.     19-00417

                            Kyle J Whitbeck                          Chapter 7

                               Debtor(s).
                                                               /

                                                  ASSET PROTECTION REPORT

          Pursuant to Local Bankruptcy Rule 1007-2(d), debtors filing a Chapter 7 petition and debtors in a
          case converting to Chapter 7 must file an Asset Protection Report. List below any property
          referenced on Schedule D (Creditors Holding Secured Claims); or Schedule G (Executory
          Contracts and Unexpired Leases); and any insurable asset in which there is nonexempt
          equity. For each asset listed, provide the following information regarding property damage or
          casualty insurance:


                                                                                                             WILL DEBTOR
                                                                                           POLICY
                                             IS ASSET     NAME & ADDRESS OF                                     RENEW
          INSURABLE ASSET                                                               EXPIRATION
                                            INSURED?           AGENT OR                                     INSURANCE ON
            (from schedules)                                                                DATE
                                              (Yes/No)      INSURANCE CO.                                    EXPIRATION?
                                                                                         (MM/YYYY)
                                                                                                               (Yes/No)
2808 Arlington Road Lansing, MI             yes           State Farm Insurance      7/19                   yes
48906 Ingham County
                                                          One State Farm Plaza
                                                          Bloomington, IL
                                                          61710
2018 GMC Acadia 352 miles               yes               Progressive Insurance     5/19                   yes
                                                          6300 Wilson Mills Rd
                                                          Mayfield Village, OH
                                                          44143
Sectional; Recliner;                    yes               State Farm Insurance      7/19                   yes
DiningTable&Chairs; Beds(3);
Dressers(3)                                               One State Farm Plaza
                                                          Bloomington, IL
                                                          61710
Stove; Refridgerator;                   yes               State Farm Insurance      7/19                   yes
Washer&Dryer; Television;
Computer; Cell Phone                                      One State Farm Plaza
                                                          Bloomington, IL
                                                          61710


          If the debtor is self-employed, does the debtor have general liability insurance for business activities?
          Yes      No

          I declare, under penalty of perjury, that the above information is true and accurate to the best of my
          knowledge. I intend to provide insurance protection for any exemptible interests in real or personal
          property of the estate, and I request that the trustee not expend estate funds to procure insurance
          coverage for my exemptible assets.
                                     Case:19-00417-swd               Doc #:6 Filed: 02/05/19       Page 2 of 2
08/12




 Dated: February 4, 2019                                                     /s/ Kyle J Whitbeck
                                                                                                                 Kyle J Whitbeck
                                                                                                                          Debtor


            Pursuant to LBR 1007-2(f), debtor is required to provide the trustee with a copy of the Declarations Page
            for any insurance policy covering an insurable asset at least 7 days before the date first set for the
            meeting of creditors




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